Case 2:21-cv-00778-TAD-KK Document 152 Filed 08/16/21 Page 1 of 3 PageID #: 2726




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA

                                                )
 STATE OF LOUISIANA, ET AL.                     )
                                                )
         Plaintiffs,                            )
                                                )
                  v.                            )
                                                )
 JOSEPH R. BIDEN, JR., in his official capacity )
 as President of the United States,             )
                                                )
 DEBRA HAALAND, in her official capacity as )
 the Secretary of the Interior,                 )
                                                )
 MICHAEL NEDD, in his official capacity as )
 the Deputy Director of the Bureau of Land      )
 Management,                                    )
                                                )
 CHAD PADGETT, in his official capacity as )
 the Director of the Bureau of Land Management )
 Alaska Office,                                 )
                                                )
 RAYMOND SUAZO, in his official capacity as )
 the Director of the Bureau of Land Management )    Case No. 2:21-cv-00778
 Arizona Office,                                )
                                                )
 KAREN MOURITSEN, in her official capacity )        Honorable Judge Terry A. Doughty
 as the Director of the Bureau of Land          )
 Management California Office,                  )   Magistrate Judge Kathleen Kay
                                                )
 JAMIE CONNELL, in his official capacity as )
 the Director of the Bureau of Land Management )
 Colorado Office,                               )
                                                )
 MITCHELL LEVERETTE, in his official            )
 capacity as the Director of the Bureau of Land )
 Management Eastern States Office,              )
                                                )
 JOHN RUHS, in his official capacity as the     )
 Director of the Bureau of Land Management      )
 Idaho Office,                                  )
                                                )
 JOHN MEHLHOFF, in his official capacity as )
 the Director of the Bureau of Land Management )
 Montana-Dakotas Office,                        )
                                                )
 JON RABY, in his official capacity as the      )
 Director of the Bureau of Land Management      )
 Nevada Office,                                 )
                                                )
                                                )
Case 2:21-cv-00778-TAD-KK Document 152 Filed 08/16/21 Page 2 of 3 PageID #: 2727



                                               )
 STEVE WELLS, in his official capacity as the )
 Acting Director of the Bureau of Land         )
 Management New Mexico Office,                 )
                                               )
 BARRY BUSHUE, in his official capacity as )
 the Director of the Bureau of Land Management )
 Oregon-Washington Office,                     )
                                               )
 GREG SHEEHAN, in his official capacity as )
 the Director of the Bureau of Land Management )
 Utah Office,                                  )
                                               )
 KIM LIEBHAUSER, in her official capacity as )
 the Acting Director of the Bureau of Land     )
 Management Wyoming Office,                    )
                                               )
 AMANDA LEFTON, in her official capacity as )
 the Director of the Bureau of Ocean Energy    )
 Management,                                   )
                                               )
 MICHAEL CELATA, in his official capacity as )
 the Regional Director of the Bureau of Ocean )
 Energy Management Gulf of Mexico Office,      )
                                               )
 LARS HERBST, in his official capacity as the )
 Regional Director of the Bureau of Safety and )
 Environmental Enforcement Gulf of Mexico      )
 OCS Office, and                               )
                                               )
 MARK FESMIRE, in his official capacity as the )
 Regional Director of the Bureau of Safety and )
 Environmental Enforcement Alaska and Pacific )
 Office,                                       )
                                               )
         Defendants.                           )
                                               )

                                All Defendants’ Notice of Appeal

        Pursuant to Federal Rule of Appellate Procedure 4(a)(1)(B) and 28 U.S.C. § 1292(a)(1),

 all Defendants 1 give notice that they appeal to the United States Court of Appeals for the Fifth


 1
  Defendants consist of Joseph R. Biden, Jr., in his official capacity as the President of the United
 States, Debra Haaland, in her official capacity as the Secretary of the Interior, Michael Nedd, in
 his official capacity as the Deputy Director of the Bureau of Land Management, Chad Padgett, in
 his official capacity as the Director of the Bureau of Land Management Alaska Office, Raymond
 Suazo, in his official capacity as the Director of the Bureau of Land Management Arizona
 Office, Karen Mouritsen, in her official capacity as the Director of the Bureau of Land
 Management California Office, Jamie Connell, in his official capacity as the Director of the
Case 2:21-cv-00778-TAD-KK Document 152 Filed 08/16/21 Page 3 of 3 PageID #: 2728



 Circuit, the Memorandum Ruling [Doc. No. 139] and Order [Doc No. 140] on Plaintiff States’

 Motion for a Preliminary Injunction, attached hereto as exhibits A and B, respectively, issued by

 the Honorable Judge Terry A. Doughty on June 15, 2021.

        Respectfully submitted this 16th day of August, 2021.

                                                     TODD KIM
                                                     Assistant Attorney General
                                                     Environment & Natural Resources Division
                                                     U.S. Department of Justice

                                                     /s/ Thomas W. Ports, Jr.
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                                                     Counsel for Defendants




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 Director of the Bureau of Land Management Eastern States Office, John Ruhs, in his official
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 official capacity as the Director of the Bureau of Land Management Montana-Dakotas Office,
 Jon Raby, in his official capacity as the Director of the Bureau of Land Management Nevada
 Office, Steve Wells, in his official capacity as the Acting Director of the Bureau of Land
 Management New Mexico Office, Barry Bushue, in his official capacity as the Director of the
 Bureau of Land Management Oregon-Washington Office, Greg Sheehan, in his official capacity
 as the Director of the Bureau of Land Management Utah Office, Kim Liebhauser, in her official
 capacity as the Acting Director of the Bureau of Land Management Wyoming Office, Amanda
 Lefton, in her official capacity as the Director of the Bureau of Ocean Energy Management,
 Michael Celata, in his official capacity as the Regional Director of the Bureau of Ocean Energy
 Management Gulf of Mexico Office, Lars Herbst, in his official capacity as the Regional
 Director of the Bureau of Safety and Environmental Enforcement Gulf of Mexico OCS Office,
 and Mark Fesmire, in his official capacity as the Regional Director of the Bureau of Safety and
 Environmental Enforcement Alaska and Pacific Office.
